Case 2:04-cr-20492-SH|\/| Document 31 Filed 08/01/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNTTED STATES OF AMERICA,
Plaintiff,

* No. 04-20492-Ma
vs.

DAV[D TATE,

Defendant.

ORDER GRANTING GOVERNMENT'S MOTION
TO DISMISS INDICTMENT

 

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It is hereby ORDERED that the Government‘s Motion To Dismiss the Indictment in the

above-entitled and numbered criminal case as to DAV]D TATE is hereby GRANTED.

DONE at Memphis, Tennessee, this'zq_t§ay of :r' § , 2005.

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UNITED STATES DISTRICT JUDGE

Th`rs docL ment entered on the docket sh t in compliance
with Flll|e 55 and/or 32fb} FHCrP on §'.R-__£§,_

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Honorable Samuel Mays
US DISTRICT COURT

